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se 1:05-cr-10004-JDT Documeni 38 i=iled 07/22/05 Page llBLERiiiP§gi@M¢i

Ca
'HCJA 24 AUTHORIZATION AND VOUCHER FOR PAYMENT OF TR.v-`iNSCRiPT (Rev. 5!99)

 

 

 

 

 

l ClR\/DISTf DW\ CODE 2. PERSON REPRESENTED \"OUCZ~[ER NUM`BER
TNW Mat’y Green
3. MAG DKT./DEF\ NUMBER 4 DlS'l`. DKT./DEF. NUMBER 5. APPF.ALS DKT,/DEF. NUMBER 6. OTH:ER [)KT. NUMBER
05-10{)04-'1"
7, IN CASF.."MATTF,R OF ('(`a.re i\lam£[i S. PAYMENT CATEGGRY 9 TY'PE PERSON REPRESENTED lO. REPRESEN'IATION TYPF.
_ X l-`elniiy L__i Petty Of`l`ense X Adult Det"endant l:] Appe|lant (See instructions
b.S. v. Green fl Mi'sdemeanor |:l Other i:i luveni|e Det`endant [i Appellee
I:] Appetu E Otlier C.C_

 

 

 

 

ll GFFENSE(S) CHARGED (Cite U.S` Code` Title & Section} ifmore rlioii one offense farr (tip ro__fii=i:) major o{j’.i:n.w:r charged according to _ici)eri'ry r)foi§’énxe.

 

_2! §§ 846, B4f, 843

 

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ii PRocEEorNG in wincn TnANsCRtPT is T'o'niz users met-crum iit-_tt/,iiy)

Sentencing and preparing PSR objections pursuant to Unitetl States vt Boolcer, 543 L'.S. (20(}5)

 

13 PROCEEDI'NG TO B!i 'fRA.T\FSCR]BED (Dc\‘ci'.'i';e speci,i?cai'ly;" NQTE Tiie tried ri‘aiii'cri',i)ii tire nor to include prm'ecii.'r'oii opening .r.tart'irii:iii, defense opening rtatc'ineiri_ prosecution
argiiineni" defense argi.'mcm, prosecution m.l)ur!a.', voir dire m‘_}w'}= mstrtic.'r`oiis, efrti'e.r.v .i,r)ec'{,uecriifif authorized by tire (`oirr.' tree i'rerii 14).

(.`hnnge ot` plea on May 2§ 2005 before Juclge Todd c
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persons proceeding under the Cri`rniual _Itistice Aet.

 

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C l:l Prosecuiion Opening Stntement i:l Prosecntion Argumcnt |:| Prosecution Rebuttal _u \
§ Defonse Opening Strite:neut l:i Defense Argnment i:l Voir Dire l,:l Jnry lnstructi'ons :¢ §
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lS. ATTORN]EV’S STATEM]EN'I` liS` COURT ORDER ___! o !`"
As the attorney l`ur the person ieprcscutcd who is managed ahm'e, l hereby annn that the Fi:iaticiai eligibility tn" the person represented having been established to the Ceurt`s
trans `pi requested is necessary for adequate t t soiitatiou. l, therel`nr¢:_ request satisfaction the aut|iorizniion requested in item 15 is hereby granted
auth iz ion to oh `n 1| transcript s rvices at t "ense of the L’nited Stntes pursuant
to th ` ` ..
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TOTAL AMOUNT CLAIMED:

 

 

2 l, LAIMANT`S CER"l`lFlCATlON OF SERVlCE PROVIDED

l hereby certify thin the above claim is for services rendered and is correct, end that 1 have not sought or received payment (corin)ensari`orz or anything of wi.'ue} from any other source
for these services

Signatii re of Date

_ _ ATTORNEY CERTIFICATION
22. CERTIF!CATION {]l" ATTORNF.Y OR CLERK l hereby certify that the services were rendered and that the trnnscript was rccci`verl.

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Signature ofAttorney or Clerlc 7 Date
_ . APPR?OVED"=FOR:PAYMENT _:CO`URT`USE ONLY

 

 

23, APPRO\'ED FOR PA\MNT 24 AM(]UNT APPROVED

 

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
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Honorable J ames Todd
US DISTRICT COURT

